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 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                         Western District
                                                        __________        of Washington
                                                                    District of __________
                          Karen D. Smith
                                                                                )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No. 2:19-cv-00538-JCC
             The Bank of New York Mellon, et al.                                )
                                                                                )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                          Malcolm & Cisneros, A Law Corporation
 To:

                                                        (Name of person to whom this subpoena is directed)

       ✔
       ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
 party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
 or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
 these matters:See Exhibit A

  Place: VIA ZOOM ( a link will be provided by counsel)                                 Date and Time:
                                                                                                         07/12/2021 10:00 am


           The deposition will be recorded by this method: Zoom Video

       ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        06/03/2021
                                    CLERK OF COURT
                                                                                          OR
                                                                                                    /s/ Christina L Henry, WSBA# 31273
                                            Signature of Clerk or Deputy Clerk                                Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)       Plaintiff
 Plaintiff                                                               , who issues or requests this subpoena, are:
Christina L Henry of Henry & DeGraaff, PS, 119 1st Ave S, Ste 500, Seattle, WA 98104, chenry@hdm-legal.com,
Tel# 206-330-0595
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 2:19-cv-00538-JCC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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 1                                                                The Honorable John C. Coughenour

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10   KAREN D. SMITH,                                   Case No.: 2:19-cv-00538-JCC
11                  Plaintiffs,
                                          SCHEDULE A TO SUBPOENA TO
12               v.                       TESTIFY IN A CIVIL ACTION FOR
     THE BANK OF NEW YORK MELLON FKA MALCOLM & CISNEROS, A LAW
13   THE BANK OF NEW YORK, AS TRUSTEE CORPORATION
14   FOR THE BENEFIT OF THE
     CERTIFICATEHOLDERS OF THE CWABS
15   INC., ASSET-BACKED CERTIFICATES,
     SERIES 2007-SD1, and NEWREZ, LLC fka
16   NEW PENN FINANCIAL LLP, d/b/a
     SHELLPOINT MORTGAGE SERVICING,
17
     LLC, MTC FINANCIAL INC., d/b/a
18   TRUSTEE CORPS, and MALCOLM &
     CISNEROS, A LAW CORPORATION,
19
                    Defendants.
20
            NOTICE IS HEREBY GIVEN that the deposition of MALCOLM & CISNEROS, A
21
     LAW CORPORATION (“M&C”) will be taken upon oral examination on the topics in
22

23   Schedule A below. The Plaintiff Karen D. Smith reserves the right to ask any background

24   information necessary to ascertain the ability of the deponent to provide the relevant testimony,
25   and to ask any follow up questions that are founded upon the information provided during the
26
     deposition testimony. M&C shall identify the person or persons who will speak on its behalf on

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     each of the described topics at least seven days before the deposition(s).
 1

 2          The deposition of M&C’s corporate representative will be taken before a Notary Public

 3   or other duly authorized person through Zoom or other electronic platform. The deposition will

 4   be recorded by stenographic means and may also be recorded by sound-and-visual means
 5
     provided by the designated company at the designated date and time:
 6
            Seattle Deposition Reporters; https://www.seadep.com/
 7

 8          July 12, 2021, commencing at 10:00 a.m, PST.
 9
            The deposition is subject to continuance or adjournment from time to time and place to
10
     place and is being taken on the grounds and for the reason that the deponent will give evidence
11

12   material to the establishment of the facts in the case.

13                                             SCHEDULE A

14
            A.      INSTRUCTIONS
15
            This deposition is served on Malcolm & Cisneros, A Law Corporation (“M&C”).
16
     Pursuant to Rule 30(b)(6), the topics to be addressed in the deposition are set forth below and in
17
     accordance with the definitions set forth below. M&C must designate one or more officers,
18
     directors, or managing agents, or other persons who consent to testify on behalf of the corporate
19
     party named above as to each of these issues and set forth for each person designated the
20
     matters on which he/she will testify.
21
            B.      DEFINITIONS
22
            Notwithstanding any definition below, each word, term, or phrase used in these
23
     Requests is intended to have the broadest meaning permitted under the Federal Rules of Civil
24
     Procedure.
25
            1.      Concerning: The term “concerning” means relating to, referring to, describing,
26
     evidencing, or constituting.

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 1          2.      Communication: The term “communication” means the transmittal of

 2   information by any means.

 3          3.      Document: The terms "document" and "documents" are defined to be

 4   synonymous in meaning and equal in scope to the usage of the term “documents” in Fed. R.

 5   Civ. P. 34(a) and include(s) the term “writing.” Unless the producing party demonstrates undue

 6   burden or other grounds sufficient to meet the requirements of Fed. R. Civ. P. 26(c), electronic

 7   mail is included within the definition of the term “document.” The terms “writings,”

 8   “recordings,” and “photographs” are defined to be synonymous in meaning and equal in scope

 9   to the usage of those terms in Fed. R. Evid. 1001. A draft or non-identical copy is a separate

10   document within the meaning of the term “document.”

11          4.      Identify (with respect to persons): When referring to a person, to “identify”

12   means to state the person’s full name, present or last known address, and, when referring to a

13   natural person, additionally, the present or last known place of employment. If the business and

14   home telephone numbers are known to the answering party, and if the person is not a party or

15   present employee of a party, said telephone numbers shall be provided. Once a person has been

16   identified in accordance with this subparagraph, only the name of the person need be listed in

17   response to subsequent discovery requesting the identification of that person.

18          5.      Identify (with respect to documents): When referring to documents, to “identify”

19   means to state the: (i) type of document; (ii) general subject matter; (iii) date of the document;

20   and (iv) author(s), addressee(s), and recipient(s) or, alternatively, to produce the document.

21          6.      Identify (with respect to a communication): When referring to a communication,

22   to “identify” means to state the (i) the date of the communication; (ii) the parties to the

23   communication; (iii) the form of communication; and (iv) the general subject matter of the
     communication.
24

25          7.      Identify (with respect to policies and procedures): When referring to policies

26   and procedures, to “identify” means to state the (i) the dates that the policy and procedures were


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 1   in effect or followed by “you”; (ii) the form of the policy and procedure (written or oral); (iii)

 2   the author(s) and recipients of the policy and procedure; (iv) a description of the policies and

 3   procedure and (v) the general subject matter of the policy and procedure.

 4             8.    Occurrence/Transaction: The terms "occurrence" and “transaction” mean the

 5   events described in the Complaint and other pleadings, as the word “pleadings” is defined in

 6   Fed. R. Civ. P. 7(a).

 7             9.    Parties: The terms “plaintiff” and “defendant” (including, without limitation,

 8   third-party plaintiff, third-party defendant, counter claimant, cross-claimant, counter-defendant,

 9   and cross-defendant), as well as a party’s full or abbreviated name or a pronoun referring to a

10   party, mean that party and, where applicable, its officers, directors, and employees. This

11   definition is not intended to impose a discovery obligation on any person who is not a party to

12   the litigation or to limit the Court’s jurisdiction to enter any appropriate order.

13             10.   Person: The term “person” is defined as any natural person or any business,

14   legal or governmental entity or association.

15             11.   When asked to “state the facts” the testimony should include (i) the identity of

16   any persons with any personal knowledge of the facts stated; (ii) the identity of any documents

17   concerning the facts stated; and (iii) the identity of any communications concerning the facts

18   stated.

19             12.   “M&C” or “You” or “Your”: The terms M&C or pronouns of “you” or “your”

20   refers to the entity upon whom this deposition notice has been served and all of that person’s

21   agents, representatives and attorneys.

22             13.   The present tense includes the past and future tenses. The singular includes the

23   plural, and the plural includes the singular. "All" means "any and all;" "any" means "any and

24   all." "Including" means "including but not limited to." "And" and "or" encompass both "and"

25   and "or." Words in the masculine, feminine or neuter form shall include each of the other

26   genders.

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 1          14.       “Complaint” means the initial complaint and any amended complaints filed in

 2   this action. A copy of the Amended Complaint is attached.

 3          15.       “Answer” means the answer and any amended answers filed by M&C. A copy is

 4   provided.

 5          16.       “and” as used herein includes both disjunctive or conjunctive as if it said “or” as

 6   well as “and.”

 7          17.       Any word or term not specifically defined: If you contend that a word or

 8   phrase that is not specifically defined in these requests is vague or may have multiple meanings

 9   that prevent you from answering the request, then you should consult the Merriam Webster

10   dictionary available online at http://www.merriam-webster.com for a definition that is

11   incorporated into these requests by reference. If this does not resolve the issue for you, please

12   contact us to confer on the issue before filing any objection on the basis that word or phrase in

13   the request is vague or may have multiple meanings.

14          18.       “Loan” means collectively the note and deed of trust referred to in paragraph 29

15   of the Plaintiff’s Second Amended Complaint (Dkt No. 45).

16          19.       “Bankruptcy Case” means the bankruptcy case filed by Plaintiff Karen Smith

17   on June 5, 2008 with a discharge on September 11, 2009, in the United States Bankruptcy Court

18   for the Western District of Washington, Case No. 08-13473-PJH.

19          20.       “BONY” refers to Defendant the Bank of New York Mellon fka The Bank of

20   New York, As Trustee For The Benefit of the Certificateholders of the CWABS Inc., Asset-

21   Backed Certificates, Series 2007-SD1.

22          21.       “Shellpoint” refers to Defendant NewRez, LLC fka New Penn Financial LLP,

23   d/b/a Shellpoint Mortgage Servicing, LLC.

24          22.       “MTC” refers to Defendant MTC Financial Inc., dba Trustee Corps.

25          23.       “Smith’s Property” refers to the real property located at 819 21st Ave, Seattle,

26   WA 98122 in King County that is legally described as:


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            LOTS 16 AND 17, BLOCK 2, WALLA WALLA ADDITION TO THE CITY OF
 1          SEATTLE, ACCORDING TO PLAT. RECORDED IN VOLUME 5 OF PLATS, PAGE 81,
            IN KING COUNTY, WASHINGTON.
 2
            24.     “Judicial Foreclosure Action” is the lawsuit originated in King County
 3
     Superior Court, The Bank of New York Mellon v. Karen D. Smith, Cause No. 18-2-09839-4 SEA
 4
     and filed on April 11, 2018 that was later removed to the United States District Court for the
 5
     Western District of Washington and became The Bank of New York Mellon v. Karen D. Smith,
 6
     Cause No. 2:18-cv-00764-TSZ.
 7
            25.     “FFA Mediation” refers to the Washington State’s Foreclosure Fairness Act,
 8
     RCW 61.24.165 (“FFA Mediation”) for the Loan that Plaintiff Smith’s attorney initiated for her
 9
     with a referral on November 11, 2016 and that ended with the Mediation Report/Certification
10
     on January 10, 2018.
11
            26.     “2016 Notice of Trustee’s Sale” refers to the November 14, 2016 Notice of
12
     Trustee’s Sale against Smith’s Property with a sale date set for March 24, 2017.
13
            27.     “Relevant Time Period” is from October 18. 2014 through
14
            Unless otherwise stated, the relevant time period for these Interrogatories is from June
15
     20, 2014 to April 10, 2019.
16

17          C.      TOPICS OF DEPOSITIONS
18          28.     The facts and circumstances related to the matters in Plaintiff’s Second Amended
19   Complaint (Dkt No. 45 and attached hereto as Exhibit 1) and more narrowly discussed in
20   paragraphs 12 – 80 with the attached exhibits to Exhibit 1. This topic is intended to be targeted
21   at facts and circumstances within M&C’s knowledge which may or may not include those
22   factual allegations that do not appear to directly involve M&C.
23          29.     The matters about which the Plaintiff has requested responses and document
24   production from M&C in Plaintiff’s Interrogatories and Requests for Production served on
25   January 8, 2020 in this litigation.
26

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 1          30.     The facts and circumstances specifically related to the filing of Judicial

 2   Foreclosure Action, including: (a) the identity of the M&C employees, paralegals, staff, agents,

 3   vendors, or others directly involved in investigating, preparing, drafting and/or filing it; (b) the

 4   details about the actual processes, programs, procedures, safeguards and/or quality control

 5   checks followed by M&C’s employees, paralegals, staff, agents, vendors, or others in preparing,

 6   drafting or filing it; (c) M&C’s position and explanation as to whether or why the Judicial

 7   Foreclosure Action was or was not accurate, correct or justified; and (d) the identity of all

 8   documents, persons and other sources of information upon which any answers to questions for

 9   this topic are based.

10          31.     The facts and circumstances specifically related to M&C’s knowledge of

11   BONY’s capacity to modify Ms. Smith’s loan in FFA Mediation, including: (a) the identity of

12   the M&C employees, paralegals, staff, agents, vendors, or others directly involved in

13   investigating, preparing, drafting and/or filing it; (b) the details about the actual processes,

14   programs, procedures, safeguards and/or quality control checks followed by M&C’s employees,

15   paralegals, staff, agents, vendors, or others in communicating with BONY for the FFA

16   Mediation (c) M&C’s position and explanation as to whether or why the beneficiary documents

17   transmitted to the borrower and the mediator did not include information about beneficiary

18   restrictions that prohibit a modification and/or efforts of the beneficiary to obtain a waiver of

19   those restrictions; and (d) the identity of all documents, persons and other sources of

20   information upon which any answers to questions for this topic are based..

21          32.     The facts and circumstances specifically related to any involvement M&C had

22   with any correspondence, notices or other documents sent to Plaintiff Karen Smith or MTC

23   regarding the Loan during the Relevant Time Period, (including without limitation, Notices of

24   Default, Pre-Foreclosure Notices, Notices of Trustees’ Sale, or payoff quotes) that sought Ms.

25   Smith’s immediate payment of claimed past due amounts on the Loan (“Payment Demands”),

26   including: (a) the identity of the M&C employees, paralegals, staff, agents, vendors, or others

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 1   directly involved in referring, investigating, preparing, drafting, making or sending each

 2   Payment Demand; (b) the details about the actual processes, programs, procedures, safeguards

 3   and/or quality control checks followed by M&C’s employees, paralegals, staff, agents, vendors,

 4   or others in referring, investigating, preparing, drafting, making or sending each Payment

 5   Demand (c) M&C’s position and explanation as to whether or why each Payment Demand was

 6   or was not accurate, correct or justified, and (d) the identity of all documents, persons and other

 7   sources of information upon which any answers in response to questions for this topic are based.

 8          33.     The facts and circumstances specifically related to the communications M&C

 9   had with the FFA mediator and Plaintiff Smith during the FFA Mediation, including (a) written

10   and oral written communications and documents exchanged; (b) the mediation session on April

11   27, 2017; (c) the mediation session on January 19, 2018; and (d) the identity of all documents,

12   persons and other sources of information upon which any answers in response to questions for

13   this topic are based.

14          34.     The facts and circumstances specifically related to non-privileged

15   communications M&C had with Defendant BONY regarding Plaintiff Smith’s FFA mediation,

16   including (a) written and oral communications and documents; (b) the mediation session on

17   April 27, 2017; (c) the mediation session on January 19, 2018; and (d) the identity of all

18   documents, persons and other sources of information upon which any answers in response to

19   questions for this topic are based.

20          35.     The number of physical offices M&C maintains and the number of states in

21   which it does business during the Relevant Time Period.

22          36.     The number of attorneys, paralegals, and other staff employed by M&C in each

23   state and in each office during the Relevant Time Period.

24          37.     The number of attorneys, paralegals, and other staff employed by M&C to

25   service clients in Washington State during the Relevant Time Period.

26

       SCHEDULE A TO SUBPOENA TO TESTIFY IN A CIVIL                      HENRY & DEGAAFF, PS
       ACTION FOR MALCOLM & CISNEROS, A LAW                                787 Maynard Ave S
       CORPORATION                                                         Seattle, WA 98104
       2:19-cv-00538-JCC - 8                                                 206-330-0595
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 1           38.   The number of judicial foreclosure cases filed in Washington state in 2016, 2017,

 2   and 2018 during the Relevant Time Period

 3           39.   The number of judicial foreclosure cases filed in Nevada in 2016, 2017, and

 4   2018.

 5           40.   The number of judicial foreclosure cases filed in California in 2016, 2017, and

 6   2018.

 7           41.   The number of judicial foreclosure cases filed in Arizona in 2016, 2017, and

 8   2018.

 9           42.   The number of proofs of claim M&C filed in bankruptcy courts in 2016, 2017

10   and 2018.

11           43.   State the facts concerning the ownership and organizational structure of M&C

12   during the Relevant Time Period.

13

14           DATED this 3rd day of June 2021.

15
       /s/ Christina L Henry_________
16     Christina L Henry, WSBA 31273
       HENRY & DEGRAAFF, PS
17
       Counsel for Plaintiffs
18     787 Maynard Ave S
       Seattle, WA 98104
19     206-330-0595 / Fax 206-400-7609
       chenry@hdm-legal.com
20

21

22

23

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26

       SCHEDULE A TO SUBPOENA TO TESTIFY IN A CIVIL                   HENRY & DEGAAFF, PS
       ACTION FOR MALCOLM & CISNEROS, A LAW                             787 Maynard Ave S
       CORPORATION                                                      Seattle, WA 98104
       2:19-cv-00538-JCC - 9                                              206-330-0595
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                                    CERTIFICATE OF SERVICE
 1
             The undersigned certifies under the penalty of perjury according to the laws of the
 2   United States and the State of Washington that on this date I caused to be served a copy of
     Intent serve a subpoena with the attached subpoena with Schedule A and attached exhibits to
 3   Subpoena to Testify in a Civil Action for Malcolm & Cisneros, a Law Corporation sent via
 4   CM/ECF to the following individuals:
              Pavel Ekmekchyan                             Neeru Jindal
 5            Yu Mohandesi LLP                             Yu Mohandesi LLP
 6            633 W 5th St, Ste 28500                      633 W 5th St, Ste 28500
              Los Angeles, CA 90071                        Los Angeles, CA 90071
 7            pavel@yumollp.com                            njindal@yumollp.com

 8            Don Gene Grant
              Washougal Town Square, Ste 245
 9            1700 Main St
10            Washougal, WA 98671
              don@dongrantps.com
11
              Michael Steven DeLeo
12            Peterson Russell Kelly, PLLC
              1850 Skyline Tower
13            10900 NE 4th St
14            Bellevue, WA 98004-8341
              mdeleo@prklaw.com
15
              Lori W. Hurl                               Aloysius Grant Lingg
16            Forsberg & Umlauf                          Forsberg & Umlauf
              901 5th Ave                                901 5th Ave
17
              Ste 1400                                   Ste 1400
18            Seattle, WA 98164-1039                     Seattle, WA 98164-1039
              lhurl@foum.law                             glingg@foum.law
19

20            Richard D. Ross
              Law Office of Richard D. Ross
21
              2737 37th Ave SW
22            Seattle, WA 98126
              RRoss@FoUm.law
23
     EXECUTED this 3rd day of June 2021 at Bothell, Washington.
24
                                                 _/s/ Christina L Henry____________________
25                                               Christina L Henry, WSBA# 31273

26

       SCHEDULE A TO SUBPOENA TO TESTIFY IN A CIVIL                   HENRY & DEGAAFF, PS
       ACTION FOR MALCOLM & CISNEROS, A LAW                             787 Maynard Ave S
       CORPORATION                                                      Seattle, WA 98104
       2:19-cv-00538-JCC - 10                                             206-330-0595
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               EXHIBIT 1

“FILED 2nd AMENDED COMPLAINT
   WITH ATTACHED EXHIBITS”
           Case 2:19-cv-00538-JCC
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 7
                               UNITED STATES DISTRICT COURT
 8                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9
       KAREN D. SMITH,                                    CASE NO. 2:19-cv-00538-JCC
10
                         Plaintiff,
11                                                        SECOND AMENDED COMPLAINT
              vs.                                         [JURY DEMAND]
12

13   THE BANK OF NEW YORK MELLON FKA
     THE BANK OF NEW YORK, AS TRUSTEE
14   FOR THE BENEFIT OF THE
     CERTIFICATEHOLDERS OF THE CWABS
15   INC., ASSET-BACKED CERTIFICATES,
     SERIES 2007-SD1, and NEWREZ LLC FKA
16
     NEW PENN FINANCIAL LLP dba
17   SHELLPOINT MORTGAGE SERVICING,
     LLC, MTC FINANCIAL INC., dba TRUSTEE
18   CORPs, and MALCOLM & CISNEROS, A
     LAW CORPORATION,
19
                          Defendants.
20

21
            COMES NOW, KAREN D SMITH , hereinafter “Plaintiff,” by and through the
22
     undersigned counsel, brings this second amended complaint seeking to quiet title and for
23
     damages resulting from the business practices of defendants, The Bank of New York Mellon fka
24
     The Bank of New York, as Trustee for the Benefit of the Certificate holders of the CWABS Inc.,
25
     Asset-Backed Certificates, Series 2007-SD1, NewRez LLC fka New Penn Financial LLP, dba
26
     Shellpoint Mortgage Servicing, LLC, MTC Financial Inc., dba Trustee Corps, and Malcolm &

      SECOND AMENDED COMPLAINT - 1                                         HENRY & DEGRAAFF, P.S.
                                                                              787 MAYNARD AVE S
                                                                               SEATTLE, WA 98104
                                                                       V (206) 330-0595 / F (206) 400-7609
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                              Exhibit A
                Plaintiff’s Referral to Foreclosure Mediation

                            November 11, 2016
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 1   Cisneros, a Law Corporation, which are unfair and deceptive and in violation of the Fair Debt

 2   Collection Practices Act, 15 U.S.C. § 1692, et seq.(“FDCPA”), and the Washington Consumer

 3   Protection Act, RCW 19.86, et seq. (“WCPA”). The Plaintiff also seeks to quiet title pursuant to

 4   RCW 7.28.300.

 5                          I.       PARTIES, JURISDICTION AND VENUE

 6           1.      Karen D. Smith is a resident of King County, Washington and the record owner of

 7   the real property located at 819 21st Ave, Seattle, WA 98122 (“the Property”) in King County

 8   that is legally described as:
 9           LOTS 16 AND 17, BLOCK 2, WALLA WALLA ADDITION TO THE CITY OF
             SEATTLE, ACCORDING TO PLAT. RECORDED IN VOLUME 5 OF PLATS, PAGE
10           81, IN KING COUNTY, WASHINGTON.
11           2.      Plaintiff Karen Smith is a “consumer” as defined by 15 U.S.C. § 1692a(3).

12           3.      Plaintiff Karen Smith is a “debtor” as defined by RCW § 19.16.100(11).

13           4.      Defendant, Bank of New York Mellon fka The Bank of New York, as Trustee for
     the Benefit of the Certificate holders of the CWABS Inc., Asset-Backed Certificates, Series
14
     2007-Sd1 (“BONY”), is a national banking association with its main office located in Pittsburgh,
15
     Pennsylvania. See Rouse v. Wachovia Mortgage, FSB, 747 F.3d 707, 715 (9th Cir. 2014)(a
16
     national banking association is a citizen only of the state in which its main office is located).
17
             5.      Defendant, New Rez LLC fka New Penn Financial LLP, doing business as,
18
     Shellpoint Mortgage Servicing, LLC (“Shellpoint”) is a foreign limited liability company, with
19
     its principal place of business in Plymouth Meeting, Pennsylvania. NewRez LLC, as Shellpoint,
20
     conducts business in Washington and is the present servicer of the subject mortgage loan.
21
             6.      Defendant Shellpoint acts as a debt collector as defined by 15 U.S.C. § 1692a(6)
22
     of the FDCPA, because they regularly use the mails and/or the telephone in their business, the
23
     principal purpose of which is to collect, or attempt to collect, directly or indirectly, delinquent
24
     consumer debts.
25

26


      SECOND AMENDED COMPLAINT - 2                                              HENRY & DEGRAAFF, P.S.
                                                                                   787 MAYNARD AVE S
                                                                                    SEATTLE, WA 98104
                                                                            V (206) 330-0595 / F (206) 400-7609
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 1           7.      Defendant Shellpoint operates a nationwide debt collection business and attempts

 2   to collect debts from consumers in virtually every state, including consumers in the state of

 3   Washington via collection letters, phone calls, credit reports and lawsuits.
             8.      Defendant Shellpoint obtained the servicing rights to this debt after it was already
 4
     in default and at that time started soliciting payment from the Plaintiff and collecting on the debt.
 5
     Thus, Defendant Shellpoint was acting as a debt collector, as that term is defined in the FDCPA
 6
     in their attempts to collect a debt from Plaintiff.
 7

 8           9.      Defendant Shellpoint attempted to collect a “debt” from the Plaintiff, as that term

 9   is defined by the FDCPA, 15 U.S.C. § 1692(a)(5).

10           10.     Defendant Shellpoint is a “collection agency” that regularly engages in soliciting

11   claims for collection or collecting or attempting to collect claims owed or due or asserted to be

12   owed or due another person as defined by RCW 19.16.100.
             11.     MTC Financial, Inc., is doing business in Washington as, Trustee Corps.
13
     ("MTC''), and is incorporated under the laws of California, and has its principal place of business
14
     in Irvine, California.
15
             12.     Defendant Malcolm & Cisneros, a Law Corporation (“Malcolm & Cisneros”), is a
16
     law firm doing business in Washington with its principal place of business located in Irvine,
17
     California.
18
             13.     Defendant Malcolm & Cisneros is a California state law firm engaged in the
19
     business of collecting debts that are originally owed or due, or asserted to be owed or due, to
20
     another.
21
             14.     Defendant Malcolm & Cisneros started collecting on this debt after it was already
22
     in default and at that time started soliciting payment from the Plaintiff and collecting on the debt.
23
     They are a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6), because they
24
     regularly use the mails and/or the telephone in their business, the principal purpose of which is to
25
     collect, or attempt to collect, directly or indirectly, delinquent consumer debts.
26


      SECOND AMENDED COMPLAINT - 3                                             HENRY & DEGRAAFF, P.S.
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                                                                           V (206) 330-0595 / F (206) 400-7609
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 1          15.       Thus, Defendant Malcolm & Cisneros was acting as a debt collector, as that term

 2   is defined in the FDCPA in their attempts to collect a debt from Ms. Smith.

 3          16.       Defendant Malcolm & Cisneros attempted to collect a “debt” from Ms. Smith, as

 4   that term is defined by the FDCPA, 15 U.S.C. § 1692(a)(5).

 5          17.       Defendant Malcolm & Cisneros is an entity who regularly engages in soliciting

 6   claims for collection or collecting or attempting to collect claims owed or due or asserted to be

 7   owed or due another person as defined by RCW 19.16.100(4).

 8          18.       Malcolm & Cisneros have used the mail, the telephone and the internet to reach
 9   across state lines into Washington to conduct their business.
10          19.       Shellpoint and Malcolm & Cisneros have provided services and receive
11   compensation for performance of these services but none of them have a direct stake in the
12   ownership or a security interest in the collateral used to secure the mortgage loans they collect.
13   By having no skin in the game whatsoever, Shellpoint and Malcolm & Cisneros have not been
14   willing to take the time to investigate or to otherwise address any concern that borrowers Ms.
15   Smith have about the mortgage loan or the foreclosure of her property.
16          20.       Malcolm & Cisneros’ activities within Washington are limited to collecting debts
17   from debtors located in this state by means of interstate communications, including telephone,
18   mail, or facsimile transmission, from Malcolm & Cisneros’ location in Irvine, California.

19          21.       Malcolm & Cisneros headquarters is located in Irvine, California.

20          22.       The Creditor on whose behalf Malcolm & Cisneros sought to collect a debt from

21   Ms. Smith are located outside of Washington state.

22          23.       Malcolm & Cisneros’ attempts to collect a debt from Ms. Smith were not

23   confined to the operation of a business other than that of a collection agency.

24          24.       Malcolm & Cisneros’ attempts to collect a debt from Plaintiff were not directly

25   related to the operation of a business other than that of a collection agency.

26          25.       Malcolm & Cisneros is an “out-of-state collection agency” as defined by RCW §

     19.16.100(10).
      SECOND AMENDED COMPLAINT - 4                                             HENRY & DEGRAAFF, P.S.
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                                                                                   SEATTLE, WA 98104
                                                                           V (206) 330-0595 / F (206) 400-7609
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 1            26.     Alternatively, Malcolm & Cisneros is a “collection agency” as defined by RCW §

 2   19.16.100(4).

 3            27.     This Court has original jurisdiction over the subject matter of this action pursuant

 4   to both 28 U.S.C. § 1331 which grants jurisdiction over actions presenting a federal question 1

 5   and 28 U.S.C. §1332 because the Plaintiff and Defendants are citizens of different states 2 and the

 6   total amount in controversy exceeds $75,000.00, exclusive of interest and costs.

 7            28.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because the events

 8   or omissions giving rise to the claims described herein occurred in the State of Washington and

 9   plaintiff Smith resides in the subject property which is located in Seattle, King County,
     Washington. This Court has supplemental jurisdiction over plaintiff’s claims arising under the
10
     laws of Washington pursuant to 28 U.S.C. §1367(a), because those claims are so related to
11
     Plaintiffs’ claims under Federal law that they form part of the same case or controversy.
12

13                                     II.      FACTUAL ALLEGATIONS

14            29.     On February 9, 2007, the Plaintiff borrowed money from Mortgage Solutions

15   Management, Inc., a California corporation engaged in residential lending in Washington, and

16   secured the loan with a Deed of Trust on her residence at 819 21st Avenue, Seattle, WA 98122,

17   and legally described as:

18            LOT 16 AND 17 IN BLOCK 2 OF WALLA WALLA ADDITION TO THE CITY OF
              SEATTLE, AS PER PLAT RECORDED IN VOLUME 5 OF PLATS, PAGE 81,
19            RECORDS OF KING COUNTY AUDITOR; SITUATE IN THE CITY SATE COUNTY
              OF KING, STATE OF WASHINGTON.
20
              30.     On July 1, 2007, Ms. Smith ceased making payment on the loan.
21
              31.     On June 5, 2008 Ms. Smith filed for bankruptcy.
22

23

24
     1
       Williams v. PRK Funding Services, Inc., 2:18-cv-0048RSM, Dkt. No. 107, pgs. 5-6. (U.S. Dist. Ct., W.D. Wash.,
25   July 7, 2018)(the court held claims implicating substantial federal questions are sufficient to invoke federal
     jurisdiction).
26   2
       See Rouse v. Wachovia Mortgage, FSB, 747 F.3d 707, 715 (9th Cir. 2014).



         SECOND AMENDED COMPLAINT - 5                                                  HENRY & DEGRAAFF, P.S.
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 1            32.   After Ms. Smith defaulted in July 2007, her loan and deed of trust was purchased

 2   and transferred to BONY.

 3            33.   On March 30, 2009, BONY participated in Ms. Smith’s bankruptcy case through

 4   the filing of a motion for relief from stay under 11 U.S.C. § 362 allowing BONY to proceed with

 5   and complete any and all contractual and statutory remedies incident to its security interests held

 6   in the Property.

 7            34.   At the time of the relief from stay motion, Countrywide Home Loans Servicing,

 8   LP was the servicer for BONY on Ms. Smith’s loan.
 9            35.   Ms. Smith’s bankruptcy judge granted the relief from stay motion on April 29,
10   20009.
11            36.   On September 11, 2009, Ms. Smith received a bankruptcy discharge pursuant to
12   11 U.S.C. § 727.
13            37.   Ms. Smith’s bankruptcy case closed on September 18, 2009.
14            38.   As a result of the bankruptcy, the Plaintiff’s personal obligation on the mortgage
15   was discharged, but BONY retained an in rem interest in the Property even after discharge.
16   Johnson v. Home State Bank, 501 U.S. 78, ,82-84 (1991).
17            39.   Between July 1, 2007 and the present date, the Plaintiff has made no payments on
18   the loan.

19            40.   While Ms. Smith was in default on the loan, Shellpoint took over servicing on her

20   loan.

21            41.   Without tolling, the six-year statute of limitations to enforce Ms. Smith’s deed of

22   trust would have expired on September 11, 2015.

23            42.   With tolling, Plaintiff asserts that the statute of limitations expired on July 15,

24   2016 and any actions to collect the debt or to foreclose non-judicially or judicially after that date

25   were time-barred.

26


      SECOND AMENDED COMPLAINT - 6                                             HENRY & DEGRAAFF, P.S.
                                                                                  787 MAYNARD AVE S
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 1          43.      Nonetheless, on November 14, 2016, Defendant MTC, at the direction of BONY

 2   through its loan servicer Shellpoint, issued a Notice of Trustee’s Sale (“NTS”) against the

 3   Plaintiff’s Property with a sale date set for March 24, 2017.

 4          44.      At all times relevant here, BONY through its loan servicer Shellpoint, retained the

 5   right to control the issuance of the NTS even if Defendant MTC had the authority to control the

 6   foreclosure process. Wilcox v. Basehore, 187 Wn.2d 772, 789 (2017.

 7          45.      In any event, MTC as the trustee of a deed of trust under RCW 61.24 et seq, had a

 8   duty of good faith to the borrower, beneficiary and the grantor under state law. RCW
 9   61.24.010(5).
10          46.      Despite the expiration of the statute of limitations on July 15, 2016, the NTS was
11   recorded in the King County recorder’s office on November 17, 2016, under recording number
12   20161117000897.
13          47.      Tolling events were due to five non-judicial foreclosure actions initiated over the
14   ensuing years, tolling the statute of limitations for 438 days:
15          48.      Foreclosure 1: A recorded notice of trustee sale on May 27, 2009 setting an
16   August 28, 2009 sale date. The sale did not occur and was not continued and since it occurred
17   prior to the bankruptcy discharge on September 11, 2009 it did not toll the statute.
18          49.      Foreclosure 2: A recorded notice of trustee sale issued on July 19, 2010 with a

19   sale date of October 15 = 88 days; statute of limitations delayed to December 8, 2015.

20          50.      Foreclosure 3: A recorded notice of trustee sale issued April 19, 2011 with a sale

21   date of July 22 = 94 days; statute of limitations delayed to March 11, 2016.

22          51.      Foreclosure Notice 4: A recorded notice of trustee sale issued March 27, 2015

23   with a sale date of July 31, 2015 = 126 days; statute of limitations delayed to July 15, 2016.

24          52.      Foreclosure Notice 5: A recorded notice of trustee sale issued November 14, 2016

25   with a sale date of March 24, 2017.

26          53.      By the Plaintiff’s calculations, Foreclosure 5 was issued after the expiration of the

     statute of limitations on July 15, 2016 and was therefore time barred.
      SECOND AMENDED COMPLAINT - 7                                             HENRY & DEGRAAFF, P.S.
                                                                                  787 MAYNARD AVE S
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 1          54.     In total, then, the statute of limitations was tolled for a total of 308 days between

 2   July 19, 2010 and July 31, 2015, and – had it not expired in July 2016 – would have been tolled

 3   for an additional 130 days between November 2016 and March 2017 for a total of 438 days.

 4          55.     More than 9 years had passed between the last payment made and the

 5   commencement of the non-judicial foreclosure initiated by MTC.

 6          56.     The debt asserted by MTC is a time barred debt pursuant to RCW 4.16.040.

 7          57.     Since MTC’s filing of the NTS was done at the direction of BONY through its

 8   loan servicer Shellpoint, Judge Zilly’s ruling in The Bank of New York Mellon v. Karen D. Smith,
 9   Case No. C18-0764-TSZ, Dkt. No. 16 regarding the tolling events in regards to this loan
10   collaterally estops MTC from relitigating the statute of limitations issue in this case.
11          58.     On November 30, 2016, Ms. Smith, through counsel, requested a referral to
12   foreclosure mediation under Washington State’s Foreclosure Fairness Act, RCW 61.24.165
13   (“FFA Mediation”). The referral included a notation that the borrower had already discharged
14   this loan in a Chapter 7 bankruptcy case. See Ex. A, Referral to Foreclosure Mediation dated
15   November 30, 2016.
16          59.     Thereafter, representing herself, Ms. Smith participated in two FFA mediation
17   sessions on April 27, 2017 and January 9, 2018 with her mortgage servicer, Shellpoint who was
18   represented by Malcolm & Cisneros.

19          60.     During the FFA Mediation, Ms. Smith asserted that the BONY mortgage on her

20   property was time barred but nonetheless engaged in good faith in the mediation process.

21          61.     Unfortunately, after several months in the FFA mediation, Shellpoint through

22   their attorneys Malcolm & Cisneros, informed the Plaintiff that the investors who owned the

23   promissory note for her mortgage loan had not given contractual authority to modify the loan.

24          62.     Thereafter, despite assurances that the investors would review a renewed

25   application after prompting from the FFA mediator, BONY, through their loan servicer

26   Shellpoint and their attorneys Malcolm & Cisneros became non-responsive, made late payment

     of the mediation fees, filed to include a modification Net Present Value (“NPV”) analysis as
      SECOND AMENDED COMPLAINT - 8                                             HENRY & DEGRAAFF, P.S.
                                                                                  787 MAYNARD AVE S
                                                                                   SEATTLE, WA 98104
                                                                           V (206) 330-0595 / F (206) 400-7609
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 1   required, and failed to appear at the final mediation. As a result, the FFA mediator issued a not in

 2   good faith certification under RCW 61.24.163. See Ex. B, Foreclosure Mediation Certification.

 3          63.     On April 11, 2018, BONY, through its loan servicer Shellpoint and attorneys

 4   Malcolm & Cisneros, filed a judicial foreclosure on the Plaintiff’s Property in Washington State

 5   in King County Superior Court, The Bank of New York Mellon v. Karen D. Smith, Cause No. 18-

 6   2-09839-4 SEA (“Judicial Foreclosure Complaint”), that was time barred under RCW 4.16.040.

 7   See Edmundson v. Bank of Am., 194 Wn. App. 920, 927, 378 P.3d 272 (2016).

 8            64.   The Judicial Foreclosure Complaint was served on Ms. Smith on April 29, 2018.
 9          65.     Thereafter, on May 28, 2018, BONY, through its loan servicer Shellpoint and
10   attorneys Malcolm & Cisneros removed the Judicial Foreclosure Complaint to federal court in
11   the United States District Court for the Western District of Washington, The Bank of New York
12   Mellon v. Karen D. Smith, Cause No. 2:18-cv-00764-TSZ.
13            66.   On October 17, 2018, the Honorable Judge Zilly granted a dismissal of the
14   Judicial Foreclosure Complaint on October 17, 2018, finding that the action was time barred
15   under RCW 4.16.040. See The Bank of New York Mellon v. Karen D. Smith, Case No. C18-0764-
16   TSZ, Dkt. No. 16.
17          67.     The dismissal order is currently on appeal in the Ninth Circuit under cause no. 18-
18   35950.

19          68.     Malcolm & Cisneros do not have a collection agency license under Chapter 19.16

20   RCW.

21          69.     Since July 15, 2016, BONY, though their agent Shellpoint, has continued to send

22   monthly statements to Karen Smith directly or through her attorney, claiming that Ms. Smith

23   owed periodic monthly installments on the Property even though the debt was time barred and

24   discharged in bankruptcy.

25          70.     On or about August 16, 2018, Shellpoint sent Ms. Smith a mortgage statement,

26   stating she owed an accelerated amount of $744,622.39 that was “now due and payable in full”

     with a reinstatement amount of $645,227.76 to reinstate her mortgage loan.
      SECOND AMENDED COMPLAINT - 9                                            HENRY & DEGRAAFF, P.S.
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 1          71.     On or about November 17, 2018, Shellpoint sent Ms. Smith’s mortgage statement,

 2   stating that she owed an accelerated amount of $755,127.88 that was “now due and payable in

 3   full” with a reinstatement amount of $544,071.85 to reinstate her mortgage loan.

 4          72.     On or about December 18, 2018, Shellpoint sent Ms. Smith’s mortgage statement,

 5   stating that she owed an accelerated amount of $759,107.78 that was “now due and payable in

 6   full” with a reinstatement amount of $445,473.49 to reinstate her mortgage loan.

 7          73.     On or about January 18, 2018, Shellpoint sent Ms. Smith’s mortgage statement,

 8   stating that she owed an accelerated amount of $762,149.22 that was “now due and payable in
 9   full” with a reinstatement amount of $449,374.23 to reinstate her mortgage loan.
10          74.     On or about February 16, 2019, Shellpoint sent Ms. Smith’s mortgage statement,
11   stating that she owed an accelerated amount of $765,967.42 that was “now due and payable in
12   full” with a reinstatement amount of $453,224.97 to reinstate her mortgage loan.
13          75.     On or about March 18, 2019, Shellpoint sent Ms. Smith’s mortgage statement,
14   stating that she owed an accelerated amount of $770,741.27 that was “now due and payable in
15   full” with a reinstatement amount of $458,696.81 to reinstate her mortgage loan.
16          76.     Additionally, even though BONY’s Judicial Foreclosure Complaint was
17   dismissed on October 17, 2018, BONY, though their agent Shellpoint, has continued to assess
18   fees associated with that lawsuit, including $1,347.50 for attorney cost disbursement on her

19   December 16, 2018 statement; a $505.00 filing cost disbursement on the January 18, 2019

20   statement; $455.00 for attorney cost disbursement on her February 16, 2019 statement; and

21   $2,030.00 for attorney cost disbursement on her March 13, 2019 statement.

22          77.     Additionally, despite requests in writing, Shellpoint has refused to send the

23   monthly periodic statement directly to Plaintiff Smith despite her request, instead directing them

24   on a monthly basis to her counsel.

25          78.     In January 2019, Plaintiff Smith sent Shellpoint a Request for Information

26   Pursuant to Section 1024.36 of Regulation X to request that monthly statements be sent directly


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 1   to her, to dispute any debt that was alleged to be owed and to request more information about the

 2   confusing and misleading amounts on her monthly mortgage statements.

 3             79.   In response, BONY, though their agent Shellpoint, responded with

 4   correspondence dated March 20, 2019 stating that Shellpoint could continue to service the loan

 5   and charge interest, payments, credits, fees, and/or other permissible charges which would cause

 6   the loan balance to vary from day to day.

 7             80.   The March 20, 2019 correspondence also reiterated that the Plaintiff was due for

 8   the July 1, 2007 payment and that Shellpoint on behalf of BONY could continue to demand
 9   payment pending an appeal of the dismissed judicial foreclosure.
10                                     III.    CAUSES OF ACTION

11             A.   COUNT ONE: WASHINGTON CONSUMER PROTECTION ACT UNDER
               RCW 19.86 (CPA) – AS TO MALCOLM & CISNEROS’ UNLICENSED DEBT
12             COLLECTION UNDER RCW 19.16 et seq.(WCAA)
13             81.   Plaintiff incorporate herein by reference as though fully set forth at length each

14   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.

15             82.   Because RCW Chapter 19.16 is enforced through RCW 19.86 et seq., allegations
     of violations in RCW Chapter 19.16 are therefore CPA violations.
16
               83.   Malcolm & Cisneros is a law firm engaged in the business of collecting debts on
17
     behalf of others.
18
               84.   Malcolm & Cisneros started soliciting payment from Ms. Smith and collecting on
19
     her mortgage loan on behalf of a third party after her loan was in default.
20
               85.   Malcolm & Cisneros provides services and receives compensation for
21
     performance of these debt collection services.
22
               86.   Malcolm & Cisneros filed a judicial foreclosure lawsuit on April 11, 2018
23   claiming that Ms. Smith’s loan debt was still legally owed after it had been discharged and time-
24   barred.
25             87.   Malcolm & Cisneros’ lawsuit of April 11, 2018 omitted the material fact of the
26   September 11, 2009 bankruptcy discharge. Malcolm & Cisneros was informed of the discharge
     and knew, or should have known, that the discharge started the statute of limitations to run and
      SECOND AMENDED COMPLAINT - 11                                            HENRY & DEGRAAFF, P.S.
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 1   that it also prevented the plaintiff from incurring personal liability on the debt. The factual

 2   omission of the debt’s discharge in the lawsuit was misleading and the equivalent of an

 3   affirmative false statement.
             88.     Malcolm & Cisneros filed a lawsuit demanding an award of all expenses and
 4
     costs of collection even though plaintiff’s personal liability on the debt was previously
 5
     discharged in bankruptcy. Id. at Dkt. No. 1-2, pgs. 7-8.
 6
             89.     By not having applied for and obtaining a license, Malcolm & Cisneros violated
 7
     RCW § 19.16.110.
 8
             90.     Malcolm & Cisneros also violated § 19.16.250(23) by bringing a judicial
 9
     foreclosure complaint that that it knew or reasonably should have known was barred by the
10
     statute of limitations before they filed it.
11           91.     Malcolm & Cisneros’ violations of the licensing provisions of the WCAA,
12   including RCW § 19.16.110 and § 19.16.250(23) constitute per se unfair acts or practices or
13   unfair methods of competition in the conduct of trade or commerce for the purpose of the
14   application of the CPA. RCW § 19.16.440.

15           92.     Here, Malcolm & Cisneros denied Ms. Smith the information set forth in RCW

16   § 19.16.250(8)(c) by failing to provide all the information required in RCW § 19.16.250(8)(c) in

17   its judicial foreclosure complaint as required by RCW § 19.16.250(9). See Handlin v. On-Site
     Manager, Inc., 187 Wash.App. 841, 850-51, 351 P.3d 226 (2015).
18
             93.     Ms. Smith had a right to use and possess this information about her mortgage loan
19
     because this information affected what she may have or may not have owed on her property.
20
             94.     But for Malcolm & Cisneros not providing this information to Mr. Smith, she
21
     would not have been deprived of information that she was entitled to receive so that she could
22
     understand whether she had any way to save her house from foreclosure.
23
             95.     Ms. Smith was injured in the form of a negatively impacted credit profile for over
24   ten years. Defendants’ failure to mitigate left plaintiff with a credit profile in flux and eliminated
25   hope of moving forward pending resolution.
26


      SECOND AMENDED COMPLAINT - 12                                            HENRY & DEGRAAFF, P.S.
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 1          96.     Malcolm & Cisneros’ actions humiliated and professionally damaged plaintiff

 2   because it harmed her reputation as a certified residential real estate appraiser. Plaintiff's

 3   prolonged status in foreclosure disqualified her from eligibility to receive appraisal assignments
     as an appraiser on the FHA Appraisal Roster. 24 C.F.R. §200.202(b)(2) and See Taggart v.
 4
     GMAC Mortgage, LLC, et al, 12-cv-0415, Dkt. No. 54, (U.S. Dist. Ct., E.D. Penn., Aug. 12,
 5
     2013)(Appraiser was removed from the FHA Roster for being listed on HUD's Credit Alert
 6
     Verification Reporting System (“CAVRS”) for defaulting on his own mortgage loan.).
 7
            97.     Indeed, months after defaulting on her loan, plaintiff learned her license was
 8
     terminated on FHA’s appraiser roster. See Ex. C, e-mail of May 13, 2008 from HUD stating,
 9
     “License terminated on appraiser roster.”
10
            98.     Ms. Smith would not have been injured in her business and property but for
11   defendants’ dilatory and manipulative conduct.
12          99.     Ms. Smith refrained from re-applying for a position on the FHA Roster as well as
13   the VA Roster because the prolonged foreclosure disqualifies her from those rosters.
14          100.    Ms. Smith has been a certified residential real estate appraiser for twenty-seven,

15   (27) years, but was unable to accept FHA or VA appraisal assignments for twelve (12) of those

16   years because of the continuous and unending foreclosure status imposed by defendants.

17          101.    The career restrictions and resulting income reduction caused by defendants’
     default mitigation evasion, caused plaintiff to seek lesser paying data-entry work unrelated to her
18
     training, knowledge, and experience.
19
            102.    But for Malcolm & Cisneros’ conduct plaintiff would not be incurring the arrears,
20
     additional costs and expenses described above.
21
            B.  COUNT TWO: WASHINGTON CONSUMER PROTECTION ACT
22          UNDER RCW 19.86 (CPA) – ALL DEFENDANTS
23          103.    Plaintiff incorporate herein by reference as though fully set forth at length each

24   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.

25          104.    Acting as alleged herein, Defendants BONY Shellpoint, MTC and Malcolm &
     Cisneros violated Washington’s Consumer Protection Act codified in RCW 19.86.
26


      SECOND AMENDED COMPLAINT - 13                                             HENRY & DEGRAAFF, P.S.
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 1          105.     Because RCW 61.24 et seq. is enforced through RCW 19.86, allegation of

 2   violations of the duty of good faith under RCW 61.24 et seq. are therefore CPA violations. RCW

 3   61.24.135(2).
            106.     Ms. Smith has a private right of action under RCW 19.86.090, and files this claim
 4
     within the four-year statute of limitation under RCW 19.86.120.
 5
            107.     Ms. Smith alleges the following conduct regarding events that start with the filing
 6
     of a November 2016 NTS;
 7
                a. Defendant BONY, Shellpoint, MTC and Malcolm & Cisneros knew that Ms.
 8
                     Smith’s mortgage was part of a sale and that it was secured by her residential
 9
                     property thus affecting her directly.
10
                b. Defendant BONY, Shellpoint, and Malcolm & Cisneros knew that Ms. Smith
11                   defaulted on her mortgage on July 1, 2007, filed for bankruptcy on June 5, 2008,
12                   and obtained a bankruptcy discharged of her debts under 11 U.S.C. §727 on
13                   September 11, 2009.
14              c. Defendant BONY through their agents Shellpoint and MTC, subsequently

15                   initiated a non-judicial foreclosure sale of plaintiff’s home in November 2016.

16              d. Defendant BONY through their agent Shellpoint and MTC and their attorneys

17                   Malcolm & Cisneros knew that Ms. Smith was referred to Washington’s
                     foreclosure mediation program on November 30, 2016. See Ex. A, Referral to
18
                     Foreclosure Mediation dated November 30, 2016.
19
                e. Defendant BONY through their agent Shellpoint and their attorneys Malcolm &
20
                     Cisneros, actively participated in Ms. Smith’s FFA mediation.
21
                f. At the conclusion of the parties’ participation in Washington’s foreclosure
22
                     mediation program, a foreclosure mediator certified Defendants’ breach of their
23
                     duty to mediate in good faith under RCW 61.24.163. See Ex. B, Foreclosure
24                   Mediation Certification.
25              g. The foreclosure mediator’s certification cites Defendants’ non-responsiveness,
26


      SECOND AMENDED COMPLAINT - 14                                           HENRY & DEGRAAFF, P.S.
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 1                   lack of contractual authority to modify the loan 3, late mediation fee payment 4,

 2                   failure to appear 5, as basis for her determination. See Ex. B.

 3            108.   Defendant BONY, through its loan servicer Shellpoint, used false, deceptive, or
     misleading representations, or means, in connection with the collection of an alleged debt as
 4
     assessed by the least sophisticated consumer standard in the following ways:
 5
                  a. BONY, through its loan servicer Shellpoint, sent mortgage statements after July
 6
                     15, 2016 claiming that Ms. Smith owed periodic monthly installments for her
 7
                     mortgage after the mortgage debt was time-barred and no longer collectible.
 8
                  b. BONY through its loan servicer Shellpoint sent conflicting and misleading
 9
                     mortgage statements about the amount it alleged was owed to reinstate the
10
                     borrower in the mortgage loan, as exemplified by the November 17, 2018
11                   mortgage statement which stated that $544,071.85 was required to reinstate the
12                   loan and then one month later, the December 18, 2018 mortgage statement stated
13                   that the reinstatement amount was $445,473.49; a difference of $98,598.36, with
14                   no explanation.

15            109.   Defendant BONY through its loan servicer Shellpoint made numerous prohibited

16   attempts to collect on a time-barred claim. Shellpoint sent misleading mortgage statements

17   claiming that prior delinquencies were owed, that were no longer owed by virtue of the statute of
     limitations. Defendants BONY through its loan servicer Shellpoint also attempted to collect
18
     attorney’s fees and costs associated with a Judicial Foreclosure Complaint that was dismissed.
19
              110.   As a non-judicial foreclosure trustee, Defendant MTC, acting at the direction of
20
     BONY, through its loan servicer Shellpoint, also recorded a time-barred NTS setting a non-
21
     judicial foreclosure for March 24, 2017 to recover secured debt that was discharged on
22
     September 11, 2009.
23

24

25   3
       RCW 61.24.163 (10)(c)
     4
       RCW 61.24.163 (17)
26   5
       RCW 61.24.163 (9)



         SECOND AMENDED COMPLAINT - 15                                         HENRY & DEGRAAFF, P.S.
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 1            111.   At all times, BONY, through its loan servicer Shellpoint, retained the right to

 2   control the issuance of the NTS even though Defendant MTC had the authority to control the

 3   foreclosure process. Wilcox v. Basehore, 187 Wn.2d 772, 789 (2017)(vicarious liability is
     extended where a principal “is accountable” for the actions of an agent). Thus, MTC is also
 4
     bound by the calculations for tolling laid out by Judge Zilly in The Bank of New York Mellon v.
 5
     Karen D. Smith, 2:18-cv-00764-TSZ, Dkt. No. 1-2, pg. 7 (U.S. Dist. Ct., W.D. Wash. May, 28,
 6
     2018).
 7
              112.   Defendants’ unfair and deceptive practices have a real and substantial potential
 8
     for repetition and thereby the capacity to injure others.
 9
              113.   Neither Defendant NewRez LLC nor Shellpoint are exempt from Washington’s
10
     foreclosure mediation program because NewRez LLC is the beneficiary of deeds of trust in more
11   than two-hundred fifty (250) trustee sales of owner-occupied residential real property. See RCW
12   61.24.166.
13            114.   NewRez’s website boasts it is, “licensed to lend in 49 states.” NewRez has a
14   Washington consumer loan company license. See https://www.newrez.com/about-us/

15            115.   Shellpoint’s website describes it as, “America’s 15th-largest non-bank servicer[,]”

16   and that they, “have offices in Greenville, SC and Houston, TX.” See

17   https://www.shellpointmtg.com/about-us. As of April 2018, Shellpoint’s servicing portfolio
     contained 233,033 loans (excluding REO) with an unpaid principal balance of approximately
18
     $57.8 billion. This reflects continued growth for the servicing portfolio from $39.6 billion at the
19
     end of 2016. See Ex. D, Moody’s Shellpoint Servicer Quality Report of October 10, 2018.
20
              116.   Defendant MTC, doing business in Washington as Trustee Corps conducts non-
21
     judicial foreclosure in California, Nevada, Arizona, Washington, Oregon, Texas and Idaho.
22
              117.   Defendant BONY, is the trustee of CWABS Inc., Asset-Backed Certificates
23
     Series 2007-SD1 which has at least 1,647 total assets in asset-backed securities and a total asset
24   value of asset-backed securities of $358,848,399.00. Moreover, BONY is the trustee under the
25   pooling and servicing agreements of at least 49 such security trusts.
26


      SECOND AMENDED COMPLAINT - 16                                           HENRY & DEGRAAFF, P.S.
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 1           118.    The Consumer Protection Division of Washington’s Attorney General’s Office

 2   (“AGO”) received other complaints of Defendants’ default mitigation failure. The AGO’s

 3   Catalyst Reports shows two complaints regarding New Penn (NewRez LLC’s former name)
     from 2013 to 2015 and twenty complaints regarding Shellpoint from 2014 to 2017. See Ex. E,
 4
     Washington Attorney General, Consumer Protection Division, Catalyst Reports.
 5
             119.    Ms. Smith and defendants occupy very unequal bargaining positions. Ms. Smith
 6
     was powerless to affect any progress toward mitigation or resolution while defendants simply
 7
     refused to communicate in defiance of the foreclosure mediator and refused to address the issues
 8
     of foreclosure in good faith. RCW 61.24.163(9) and. See Ex. B.
 9
             120.    Ms. Smith was injured in the form of a negatively impacted credit profile for over
10
     ten years. Defendants’ failure to mitigate left plaintiff with a credit profile in flux and eliminated
11   hope of moving forward pending resolution.
12           121.    Defendants’ prolonged mitigation evasion humiliated and professionally damaged
13   plaintiff because it harmed her reputation as a certified residential real estate appraiser. Plaintiff's
14   prolonged status in foreclosure disqualified her from eligibility to receive appraisal assignments

15   as an appraiser on the FHA Appraisal Roster. 24 C.F.R. §200.202(b)(2) and See Taggart v.

16   GMAC Mortgage, LLC, et al, 12-cv-0415, Dkt. No. 54, (U.S. Dist. Ct., E.D. Penn., Aug. 12,

17   2013)(Appraiser was removed from the FHA Roster for being listed on HUD's Credit Alert
     Verification Reporting System (“CAVRS”) for defaulting on his own mortgage loan.)
18
             122.    Indeed, months after defaulting on her loan, plaintiff learned her license was
19
     terminated on FHA’s appraiser roster. See Ex. C, e-mail of May 13, 2008 from HUD stating,
20
     “License terminated on appraiser roster.”
21
             123.    Ms. Smith would not have been injured in her business and property but for
22
     defendants’ dilatory and manipulative conduct.
23
             124.    Ms. Smith refrained from re-applying for a position on the FHA Roster as well as
24   the VA Roster because the prolonged foreclosure disqualifies her from those rosters, instead Ms.
25   Smith attempted to resolve the disqualifying foreclosure with Defendants.
26


      SECOND AMENDED COMPLAINT - 17                                              HENRY & DEGRAAFF, P.S.
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 1          125.    Ms. Smith has been a certified residential real estate appraiser for twenty-seven,

 2   (27) years, but was unable to accept FHA or VA appraisal assignments for twelve (12) of those

 3   years because of the continuous and unending foreclosure status imposed by defendants.
            126.    The career restrictions and resulting income reduction caused by defendants’
 4
     default mitigation evasion, caused the Plaintiff to seek lesser paying data-entry work unrelated to
 5
     her training, knowledge, and experience.
 6
            127.    The career restrictions and resulting income reduction caused by defendants’
 7
     default mitigation evasion, has affected plaintiff emotionally and physically and plaintiff is
 8
     currently seeing a therapist for treatment of emotional distress.
 9
            128.    By carrying out its role in violation of its duty under RCW 61.24.010(5), MTC
10
     recorded the NTS beyond the statute of limitations; thus, extending damages further.
11          129.    But for Defendants’ dilatory conduct plaintiff would not be incurring the arrears,
12   additional costs and expenses described above.
13          130.    In failing to mitigate Plaintiff’s mortgage default, defendants artificially inflated
14   the cost of the mortgage loan with the accumulation of over a decade in arrears.

15          C.  COUNT THREE: NEGLIGENT MISREPRESENTATION: DEFENDANTS
            BONY, SHELLPOINT, AND MALCOLM & CISNEROS
16
            131.    Plaintiff incorporate herein by reference as though fully set forth at length each
17
     preceding allegation and statement contained herein, inclusive, of the Factual Allegations.
18
            132.    Ms. Smith incorporates herein by reference as though fully set forth at length each
19
     preceding allegation and statement contained herein, inclusive, of the Factual Allegations.
20
            133.    Under the circumstances alleged, Defendants acting at the direction of BONY,
21
     through its loan servicer Shellpoint and their attorneys Malcolm & Cisneros owed Ms. Smith a
22
     duty to provide her with accurate information regarding the loan modification process during the
23
     FFA mediation. See RCW 61.24.163(9).
24
            134.    Defendants acting at the direction of BONY, through its loan servicer Shellpoint
25
     and their attorneys Malcolm & Cisneros, negligently represented to Ms. Smith that they would
26
     be offered a fair opportunity to obtain a loan modification. Defendants’ representation was

      SECOND AMENDED COMPLAINT - 18                                            HENRY & DEGRAAFF, P.S.
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 1   negligent because even though they participated in the FFA Mediation, the investors on the loan

 2   did not give any authority to modify the loan and even after indicating that the investor would

 3   indeed entertain a modification application, they subsequently failed to participate, paid the

 4   mediation fees late and did not attend the last mediation in January 2018.

 5            135.   Ms. Smith complied with the obligations of the FFA mediation and complied with

 6   all obligations under RCW 61.24.165 and 61.24.163.

 7            136.   Participating in the FFA mediation with no intention of offering a loan

 8   modification, and by failing to meet obligations to participate and attend scheduled mediations
 9   demonstrates a lack of exercise of reasonable care or competence in communicating with Ms.
10   Smith.
11            137.   Ms. Smith justifiably relied on Defendants BONY, Shellpoint and Malcolm &
12   Cisneros’ misrepresentations, expecting to be offered a good faith review of her loan
13   modification application and to negotiate in good faith in regard to the time-barred nature of the
14   mortgage loan at issue on the Property.
15            138.   Ms. Smith has suffered significant injury because of Defendants BONY,
16   Shellpoint and Malcolm & Cisneros’ negligent misrepresentation that induced her to enter into
17   loan modification contracts with Defendants to cure the default on her home loan. These injuries
18   were caused by her reliance on the specialized knowledge Defendants had regarding BONY’s

19   willingness to engage in a loan modifications process.

20            139.   Additionally, Ms. Smith incorporates the injury to business and property alleged

21   under count two for violations of the CPA claim in addition to the emotional distress permitted

22   under a negligent misrepresentation claim.

23            140.   Ms. Smith is entitled to compensatory damages, and attorney’s fees and costs

24   expended in reliance upon Defendants’ negligent misrepresentations.

25            141.   The career restrictions and resulting income reduction caused by defendants’

26   default mitigation evasion, has affected plaintiff emotionally and physically and plaintiff is
     currently seeing a therapist for treatment of emotional distress.
      SECOND AMENDED COMPLAINT - 19                                           HENRY & DEGRAAFF, P.S.
                                                                                 787 MAYNARD AVE S
                                                                                  SEATTLE, WA 98104
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            D.  COUNT FOUR: WASHINGTON CONSUMER PROTECTION ACT
 1          UNDER RCW 19.86 (CPA) – AS TO DEFENDANTS MALCOLM & CISNEROS,
            BONY, AND SHELLPOINT REGARDING THE JUDICIAL FORECLOSURE
 2          COMPLAINT
 3          142.      Plaintiff incorporates herein by reference as though fully set forth at length each

 4   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.

 5          143.      Acting as alleged herein, Defendant BONY, through its loan servicer Shellpoint,
     and Malcolm & Cisneros (“defendants”) initiated a judicial foreclosure of Ms. Smith’s property
 6
     after the passing of the statute of limitation. The Bank of New York Mellon v. Karen D. Smith,
 7
     2:18-cv-00764-TSZ, Dkt. No. 1-2, pg. 7 (U.S. Dist. Ct., W.D. Wash. May, 28, 2018).
 8
            144.      Under the CPA, Ms. Smith’s mortgage is trade or commerce. RCW
 9
     193.86.010(2).
10
            145.      Acting as alleged herein defendants’ conduct was unfair and deceptive when
11
     defendants filed a judicial foreclosure in state court that was time barred.
12
            146.      Defendant BONY, through its loan servicer Shellpoint, and Malcolm & Cisneros
13   filed a lawsuit on April 11, 2018 claiming that the loan debt was still legally owed after it had
14   been discharged and time-barred.
15          147.      Defendant BONY, through its loan servicer Shellpoint, and Malcolm & Cisneros’
16   lawsuit of April 11, 2018 omitted the material fact of the September 11, 2009 bankruptcy

17   discharge. Defendant BONY, through its loan servicer Shellpoint, and Malcolm & Cisneros were

18   informed of the discharge and knew, or should have known, that the discharge started the statute

19   of limitations to run and that it also prevented the plaintiff from incurring personal liability on
     the debt. The factual omission of the debt’s discharge in the lawsuit was misleading and the
20
     equivalent of an affirmative false statement.
21
            148.      Defendant BONY, through its loan servicer Shellpoint, and Malcolm & Cisneros
22
     filed the Judicial Foreclosure Complaint demanding an award of all expenses and costs of
23
     collection even though plaintiff’s personal liability on the debt was previously discharged in
24
     bankruptcy. Id. at Dkt. No. 1-2, pgs. 7-8.
25
            149.      NewRez LLC’s website boasts it is, "licensed to lend in 49 states." NewRez has a
26   Washington consumer loan company license. See https:/ /www .newrez.com/about-us/.

      SECOND AMENDED COMPLAINT - 20                                             HENRY & DEGRAAFF, P.S.
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 1          150.    Shellpoint's website describes it as, "America's 15th-largest non-bank servicer[,]"

 2   and that they, "have offices in Greenville, SC and Houston, TX." See

 3   https://www.shellpointmtg.com/about-us.
            151.    As of April 2018, Shellpoint's servicing portfolio contained 233,033 loans
 4
     (excluding REO) with an unpaid principal balance of approximately $57.8 billion. This reflects
 5
     continued growth for the servicing portfolio from $39.6 billion at the end of 2016. See Ex. D,
 6
     Moody's Shellpoint Servicer Quality Report of October 10, 2018.
 7
            152.    Defendant BONY, is the trustee of CWABS Inc., Asset-Backed Certificates
 8
     Series 2007-SD1 which has at least 1,647 total assets in asset-backed securities and a total asset
 9
     value of asset-backed securities of $358,848,399.00. Moreover, BONY is the trustee under the
10
     pooling and servicing agreements of at least 49 such security trusts.
11          153.    Defendant Malcolm Cisneros is a debt collection agency operating without a
12   license in Washington State. Malcolm Cisneros represents financial institutions in connection
13   with their defaulted consumer and commercial loans in California, Arizona, Nevada, Oregon,
14   Texas and Washington and practices in state and federal courts in California, Arizona, Nevada,

15   Hawaii, Oregon, Colorado, Washington, Florida, Texas, and South Dakota.

16          154.    By filing the Judicial Foreclosure Complaint after the statute of limitations

17   expired, Defendants, joint and severally, prolonged mitigation evasion further humiliating and
     professionally injuring plaintiff further because it continued to harm her reputation as a certified
18
     residential real estate appraiser. Plaintiff's prolonged status in foreclosure continued to disqualify
19
     her from eligibility to receive appraisal assignments as an appraiser on the FHA Appraisal
20
     Roster. 24 C.F.R. §200.202(b)(2) and See Taggart v. GMAC Mortgage, LLC, et al, 12-cv-0415,
21
     Dkt. No. 54, (U.S. Dist. Ct., E.D. Penn., Aug. 12, 2013)(Appraiser was removed from the FHA
22
     Roster for being listed on HUD's Credit Alert Verification Reporting System (“CAVRS”) for
23
     defaulting on his own mortgage loan.)
24          155.    Ms. Smith continues to be injured in the form of a negatively impacted credit
25   profile. Defendants’ failure to mitigate left plaintiff with a credit profile in flux and eliminated
26   hope of moving forward pending resolution.


      SECOND AMENDED COMPLAINT - 21                                             HENRY & DEGRAAFF, P.S.
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 1          156.    Ms. Smith was also harmed because she spent time and effort to see an attorney to

 2   investigate the time-barred nature of the Judicial Foreclosure Complaint, and incurred attorney’s

 3   fees she paid to defend against the Judicial Foreclosure Complaint.
            157.    But for Defendants filing the Judicial Foreclosure Complaint beyond the statute of
 4
     limitations Ms. Smith would not have had to spend any time, resources and money responding to
 5
     the judicial foreclosure, nor would her credit profile continue to carry the negative reporting of
 6
     the never-ending foreclosure, nor would Ms. Smith continue to be restricted from the FHA
 7
     appraiser roster.
 8
            E.  COUNT FIVE: FAIR DEBT COLLECTION PRACTICES ACT –
 9          MALCOLM & CISNEROS
10          158.    Ms. Smith incorporate herein by reference as though fully set forth at length each

11   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.

12          159.    Defendant Malcolm & Cisneros collects Ms. Smith’s loan on behalf of defendant

13   BONY who were assigned this debt after it went delinquent.

14          160.    Defendant Malcolm & Cisneros regularly uses the mails and/or the telephone in

15   their business, the principal purpose of which is to collect, or attempt to collect, directly or

16   indirectly, delinquent consumer debts and they started collecting on this debt after it was already

17   in default. Thus, they are a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

18          161.    Suing or effectuating a proceeding for repossession or foreclosure on a time-

19   barred debt is a practice uniformly held by courts to violate the FDCPA as a matter of law.

20          162.    Defendant Malcolm & Cisneros initiated a judicial foreclosure by filing a

21   complaint on April 11, 2018 in Washington State, King County Superior Court to dispossess Ms.

22   Smith from her homestead, Malcolm & Cisneros made false, deceptive and misleading

23   representations in violation of § 1692e by threatening to sue her on a claim they knew or should

24   have known was time-barred.

25          163.    Here, Defendant Malcolm & Cisneros’ filing of a time barred judicial foreclosure

26   violated the FDCPA, including but not limited to the following:


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 1              a. Using any false, deceptive, or misleading representation or means in connection

 2                  with the collection of any debt, in violation of 15U.S.C. §§ 1692e and e(10);

 3              b. Falsely representing the character, amount, or legal status of any debt, in violation
                    of 15 U.S.C. § 1692e(2)(A);
 4
                c. Using any false representation or deceptive means to collect or attempt to collect
 5
                    any debt or to obtain information concerning a consumer in violation of 15 U.S.C.
 6
                    § 1692e(10);
 7
                d. Representing or implying that nonpayment of any debt will result in …. the
 8
                    seizure ……or sale of any property or wages of any person when such action is
 9
                    not lawful, in violation of 15 U.S.C. § 1692d(4);
10
                e. Using unfair or unconscionable means to collect or attempt to collect any debt, in
11                  violation of 15 U.S.C. § 1692f; and
12              f. Collecting any amount (including any interest, fee, charge, or expense incidental
13                  to the principal obligation) unless such amount is expressly authorized by the
14                  agreement creating the debt or permitted by law, in violation 15 U.S.C. § 1692f

15                  (1).

16          164.    Defendant Malcolm & Cisneros’ conduct in violation of the FDCPA also caused

17   and proximately caused Ms. Smith harm by causing her to spend time and effort to see an
     attorney to investigate the time-barred nature of the Judicial Foreclosure Complaint, and to incur
18
     the attorney’s fees she paid to defend against the Judicial Foreclosure Complaint.
19
            165.    Ms. Smith also suffered emotional distress from the judicial foreclosure and she
20
     continued to suffer due to the financial uncertainty, unease and fear that she would be lose her
21
     home and be responsible for a money judgment even though her personal obligation was
22
     discharged in bankruptcy and her debt was time-barred.
23
            166.    But for Malcolm & Cisneros’ filing of this Judicial Foreclosure Complaint, Ms.
24   Smith would not have incurred the financial expense of paying an attorney to defend against the
25   Judicial Foreclosure Complaint, would not have spent her time and effort to see an attorney to
26


      SECOND AMENDED COMPLAINT - 23                                          HENRY & DEGRAAFF, P.S.
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 1   investigate the validity of the Judicial Foreclosure Complaint and would not have experienced

 2   the emotional distress, unease, financial insecurity and fear that her home would be taken away.

 3          167.    Ms. Smith is entitled to compensatory, special and general damages as allowed by
     law.
 4
            168.    Ms. Smith is also entitled to statutory damages, attorneys’ fees and costs pursuant
 5
     to 15 U.S.C. § 1692k.
 6
            F.  COUNT SIX: FAIR DEBT COLLECTION PRACTICES ACT –
 7          SHELLPOINT
 8          169.    Ms. Smith incorporate herein by reference as though fully set forth at length each
 9   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.
10          170.    Defendant Shellpoint collects the Plaintiff’s loan on behalf of defendant BONY. It
11   did not service the Loan until after the Loan had been declared to be in default.
12          171.    Thus, Defendant Shellpoint was acting as a debt collector, as that term is defined
13   in the FDCPA, as to the delinquent consumer debt their attempts to collect from Ms. Smith.
14          172.    Defendant Shellpoint started collecting on this debt after it was already in default.
15   They are a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6), because they
16   regularly use the mails and/or the telephone in their business, the principal purpose of which is to
17   collect, or attempt to collect, directly or indirectly, delinquent consumer debts.
18          173.    Collecting on a time-barred debt is a practice uniformly held by courts to violate
19   the FDCPA as a matter of law.
20          174.    Thus, Defendant Shellpoint violated the FDCPA when they sent misleading
21   mortgage statements after April 10, 2018 claiming that Ms. Smith owed periodic monthly
22   installments on the Property even though the debt had been time barred since March 11, 2016.
23          175.    Additional communications received by the Plaintiff in correspondence dated
24   March 20, 2019 in response to a Request for Information Pursuant to Section 1024.36 of
25   Regulation X was also confusing and misleading since it said that Shellpoint was continuing to
26   service the loan, stating that interest, payments, credits, fees, and/or other permissible charges


      SECOND AMENDED COMPLAINT - 24                                            HENRY & DEGRAAFF, P.S.
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 1   can continue to cause the loan balance to vary from day to day. See Ex. F, Correspondence from

 2   Shellpoint.

 3          176.      The March 20, 2019 correspondence also reiterated that Ms. Smith was due for

 4   the July 1, 2007 payment and that Shellpoint on behalf of BONY could continue to demand

 5   payment pending an appeal.

 6          177.      Since the mortgage debt was time barred, any communication to Ms. Smith that

 7   included amounts that were not owed, were an attempt to trick the Plaintiff into resuming

 8   installment payments that were not owed to restart the statute of limitations.
 9          178.      Additionally, since August 2018, on a monthly basis Shellpoint sent mortgage

10   statements on a monthly basis that included the attorney and filing fees associated with the time-

11   barred Judicial Foreclosure Complaint and other unlawful fees and charges.
            179.      Here, Defendant Shellpoint communications that Ms. Smith still owed the time
12
     barred debt violated the FDCPA, including but not limited to the following:
13
                   a. Using any false, deceptive, or misleading representation or means in connection
14
                      with the collection of any debt, in violation of 15U.S.C. §§ 1692e and e(10);
15
                   b. Falsely representing the character, amount, or legal status of any debt, in violation
16
                      of 15 U.S.C. § 1692e(2)(A);
17
                   c. Representing or implying that nonpayment of any debt will result in …. the
18
                      seizure ……or sale of any property or wages of any person when such action is
19                    not lawful, in violation of 15 U.S.C. § 1692d(4);
20                 d. Using unfair or unconscionable means to collect or attempt to collect any debt, in
21                    violation of 15 U.S.C. § 1692f;
22                 e. Collecting any amount (including any interest, fee, charge, or expense incidental

23                    to the principal obligation) unless such amount is expressly authorized by the

24                    agreement creating the debt or permitted by law, in violation 15 U.S.C. §

25                    1692f(1); and

26


      SECOND AMENDED COMPLAINT - 25                                             HENRY & DEGRAAFF, P.S.
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 1               f. Threatening to take any judicial action to effect dispossession or disablement of

 2                  property because the Property is exempt by law from such dispossession or

 3                  disablement, in violation of 15 U.S.C. § 1692f(6)(c).
            180.    Defendant Shellpoint’s conduct in violation of the FDCPA caused and
 4
     proximately caused injury and damages to the Plaintiff.
 5
            181.    Ms. Smith is entitled to compensatory, special and general damages as allowed by
 6
     law.
 7
            182.    Ms. Smith is also entitled to statutory damages, attorneys’ fees and costs pursuant
 8
     to 15 U.S.C. § 1692k.
 9
            G.      COUNT SEVEN: QUIET TITLE ACTION
10
            183.    Ms. Smith incorporate herein by reference as though fully set forth at length each
11
     preceding allegation and statement contained herein, inclusive, of the Factual Allegations.
12
            184.    Under Washington law, promissory notes and deeds of trust securing such notes
13
     are subject to a six-year statute of limitations. RCW 4.16.040; Westar Funding v. Sorrels, 157
14
     Wn.App. 777, 784 (2010). When an action to foreclose on a deed of trust is barred by the statute
15
     of limitations, RCW 7.28.300 authorizes the record owner to bring a quiet title action to clear the
16
     deed of trust. Westar, 157 Wn.App at 785
17
            185.    The statute of limitations period commences, and a cause of action accrues when
18
     a party has a right to seek relief. More than six years have elapsed since the debt secured by the
19
     BONY was discharged and the right to foreclose on that mortgage loan commenced. Jarvis v.
20
     Fed. Nat’l Mortg. Ass’n, No. C16-5194-RBL at *3, 2017 WL 1438040 (W.D. Wash. Apr. 24,
21
     2017), aff’d mem., 726 Fed.App’x. 666 (9th Cir. 2018).
22
            186.    As such, any actions to foreclose the BONY Loan is now barred under the statute
23
     of limitations, and Ms. Smith is entitled to quiet title against the BONY under RCW 7.28.300.
24
            187.    The BONY loan constitutes a cloud on Ms. Smith’s title and should be removed.
25

26


      SECOND AMENDED COMPLAINT - 26                                           HENRY & DEGRAAFF, P.S.
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 1             H.     COUNT EIGHT: INJUNCTIVE RELIEF – ALL DEFENDANTS
 2             188.   Ms. Smith incorporate herein by reference as though fully set forth at length each

 3   preceding allegation and statement contained herein, inclusive, of the Factual Allegations.

 4          189.      A plaintiff may seek injunctive relief for violations of the Consumer Protection
     Act. RCW 19.86.090.
 5
            190.      Ms. Smith does seek injunctive relief from this Court which would enjoin
 6
     Defendants from collecting debts in the manner described above from both Ms. Smith and any
 7
     other person similarly situated. Scott v. Cingular Wireless, 160 Wash. 2d 843, 853 (2007).
 8
               191.   Specifically, Ms. Smith seeks an injunction prohibiting Defendants from its
 9
     unlawful collection tactics, including but not limited to demanding collection fees/costs that are
10
     specifically disallowed by statute, misrepresenting the status of the debt, and collecting on time-
11
     barred debt that is passed the statute of limitations in a foreclosure context.
12             192.   Ms. Smith has reason to believe these actions make up a pattern and practice of
13   behavior and have impacted other individuals similarly situated.
14             193.   Injunctive relief is necessary to prevent further injury to Ms. Smith and to the
15   Washington state public as a whole.

16             194.   Injunctive relief should therefore issue as described herein.

17                             IV.    PRAYER FOR RELIEF & DAMAGES
18             WHEREFORE, Plaintiff respectfully prays that judgment be entered against all the
19   Defendants for the following:
20        1.          For judgment against Defendants for actual damages;
21        2.          For statutory damage of $1,000 for FDCPA violations;
22        3.          Any and all actual damages, including those injuries in the form of recovery of

23   lost income for at least twelve years, damaged reputation, damaged credit, consequential

24   expenses and costs, and any other actual cost or damage incurred as a result of defendants
     dilatory and manipulative conduct;
25
          4.          For actual damages including emotional distress pursuant to 15 U.S.C. §
26
     1692k(a)(1);

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 1         5.        For treble damages, pursuant to RCW 19.86.090 up to $25,000.00, calculated

 2   from the damages determined by the court;

 3         6.        For costs and reasonable attorney’s fees as determined by the Court pursuant to
     15 U.S.C. § 1692k(a)(3) and RCW 19.86 et seq;
 4
           7.        As a result of Defendants’ CPA violations, Ms. Smith has suffered unnecessarily
 5
     costly circumstances, increased debt and loan cost, and damage to her credit and professional
 6
     reputation;
 7
           8.        For interest on the above amounts as authorized by law;
 8
           9.        For Judgment that Ms. Smith own, in fee simple absolute, the Property as against
 9
     the Defendant BONY and all persons claiming under the Defendant, who shall have no estate,
10
     right, title, lien or interest in or to the Plaintiff’s Property, or any part thereof, and that title to Ms.
11   Smith’s Property be quieted to the Plaintiff against all claims of Defendant and all persons
12   claiming under Defendant;
13         10.       Judgment extinguishing the mortgage Loan currently owned by BONY on the
14   Plaintiff’s Property;

15         11.       For injunctive relief pursuant to RCW 19.86.090 as described above;

16         12.       For leave to amend this complaint as needed and as required; and

17         13.       For such other relief as the Court deems equitable and just.

18

19     DATED this 6th of August 2019.
20
     __/s/ Christina L. Henry_________                  __/s/ Arthur Ortiz_
21   Christina L Henry, WSBA 31273                      Arthur Ortiz, WSBA 26676
22   HENRY & DEGRAAFF, PS                               The Law Office of Arthur Ortiz
     787 Maynard Ave S                                  6015 California Ave SW No. 203
23   Seattle, WA 98104                                  Seattle, WA 98136-1674
     206-330-0595 Fax 206-400-7609                      206-898-5704
24   chenry@hdm-legal.com                               arthur@aeolegal.com
25

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      SECOND AMENDED COMPLAINT - 28                                                HENRY & DEGRAAFF, P.S.
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                              Exhibit B
            Plaintiff’s Foreclosure Mediation Certification of

            January 10, 2018 and admission of lack of required

            authority of July 19, 2017.
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Please send your Case
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                                           Shellpoint Mortgage Servicing
                                                 P.O. Box 740039
                                            Cincinnati, OH 45274-0039

If your mortgage loan is reinstated and you subsequently experience a financial hardship, you may contact us to request reconsideration
for mortgage payment assistance or other alternatives to foreclosure.

If you have questions about this letter and how to reinstate your mortgage, please contact us at 866-825-2174. If you have concerns about
the evaluation of your mortgage for foreclosure alternatives, then please contact Aldo Jimenez at 888-557-9326.

Making decisions about your mortgage when you’re facing financial challenges can be uncomfortable. With so much information
available, it’s hard to know where to turn. Shellpoint is ready to assist you in exploring the best option for your individual situation! Call
us today at 866-825-2174.

Sincerely,
Aldo Jimenez
888-557-9326 Ext 7781
Loss Mitigation Department
Shellpoint Mortgage Servicing
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Right to Appeal
You have the right to appeal our determination not to offer you the loan modification Trial Period Plan(s) listed above. If you would like
to appeal, you must contact us in writing at the address provided below, no later than 8/18/2017, and state that you are requesting an
appeal of our decision. You must include in the appeal your name, property address, and mortgage loan number. You must also specify
the reasons for your appeal, and provide any supporting documentation. Your right to appeal expires 8/18/2017. Any appeal requests or
documentation received after 8/18/2017 may not be considered.

If you elect to appeal, you do not have to accept this offer to pursue a short sale until resolution of the appeal. If we determine on appeal
that you are eligible for a loan modification Trial Period Plan, we will send you an offer for that Trial Period Plan. In that case, you may
choose to accept the current offer to pursue a short sale or you may notify us of your intent to accept the new Trial Period Plan offer by
contacting us at 866-825-2174 or in writing at P.O. Box 10826 Greenville, SC 29603-0826 no later than 14 calendar days from the date of
the appeal decision.

If you wait to make the payment amount described above until after receiving our appeal decision, your loan will become more
delinquent. Any unpaid interest, and other unpaid amounts, such as escrows for taxes and insurance, will continue to accrue on your
mortgage loan during the appeal, and will be added to the total amount due to bring your loan current.
The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding contract); because all or
part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
under the Consumer Credit Protection Act. The federal agency that administers compliance with this law concerning this creditor is:
Federal Trade Commission, Equal Credit Opportunity, 600 Pennsylvania Avenue, NW, Washington, DC 20580.
Under federal law, you have the right to obtain a free copy of your credit report from Transunion LLC, the consumer reporting agency
who provided us the credit report, within 60 days of this notice.
You have a right to dispute any inaccurate information in your credit report. If you find mistakes on your credit report, contact the
consumer reporting agency. It is a good idea to check your credit report to make sure the information it contains is accurate. Your credit
score was obtained with your permission from TransUnion LLC on 06/06/2014. Below is their contact information:
     TransUnion LLC
     P.O Box 2000
     Chester, PA 19016
     Toll-Free: 800-888-4213
Your credit score was 623 when it was obtained in part of your evaluation on 07/18/2017. How your score compares to the scores
of other consumers:
Very Bad Credit: credit scores below 600
Bad Credit: credit scores between 600 and 650
Fair Credit: credit scores between 650 and 700
Good Credit: credit scores between 700 and 750
Very Good Credit: credit scores between 750 and 800
The below are key factors that affected your credit score.
     •     Serious delinquency, and public record or collection filed.
     •     Number of accounts with delinquency.
     •     Proportion of balances to credit limits on bank/national revolving or other revolving accounts is too high.
     •     Time since delinquency is too recent or unknown.
Under federal law, you have the right to obtain a free copy of your credit report from each of the nationwide consumer reporting agencies
once a year.
To order your free annual credit report—
By telephone: Call toll-free: 1-877-322-8228
On the web: Visit www.annualcreditreport.com
By mail: Mail your completed Annual Credit Report Request Form (which you can obtain from the Federal Trade Commission’s web site
at https://www.consumer.ftc.gov/articles/pdf-0093-annual-report-request-form.pdf) to:
                                                              Annual Credit Report Request Service
                                                                       P.O. Box 105281
                                                                   Atlanta, GA 30348-5281
Notice to the Loan Modification Applicant
In connection with your application for a loan modification, the lender must disclose to you the score that a consumer reporting agency
distributed to users and the lender used in connection with your home loan, and the key factors affecting your credit scores. The credit
score is a computer generated summary calculated at the time of the request and based on information that a consumer reporting agency
or lender has on file. The scores are based on data about your credit history and payment patterns. Credit scores are important because
they are used to assist the lender in determining whether you will obtain a loan. They may also be used to determine what interest rate
you may be offered on the mortgage. Credit scores can change over time, depending on your conduct, how your credit history and
payment patterns change, and how credit scoring technologies change. Because the score is based on information in your credit history, it
is very important that you review the credit-related information that is being furnished to make sure it is accurate. Credit records may

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vary from one company   2:19-cv-00538-JCC
                        to 2:19-cv-00538-JCC
                           another.                  Document
                                    If you have questions about your118-1
                                                        Document               Filed
                                                                       45-2score
                                                                      credit   Filed  06/03/21
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                                                                                  or the             Page
                                                                                                     Page58
                                                                                         credit information   7 of
                                                                                                             that of  88
                                                                                                                  is 7furnished to you, contact
the consumer reporting agency at the address and telephone number provided with this notice, or contact the lender, if the lender
developed or generated the credit score. The consumer reporting agency plays no part in the decision to take any action on the loan
application and is unable to provide you with specific reasons for the decision on a loan application. If you have questions concerning the
terms of the loan modification, contact the lender.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at:
Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
                              Please read the following important notices as they may affect your rights.
This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a debt
collector.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal
liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who
might be subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible
enforcement of the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months
after the servicemember’s military or other service. Counseling for covered servicemembers is available from Military OneSource
(800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
Military OneSource website www.militaryonesource.mil/.
The following is a Spanish translation of the information previously provided:
                           Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.
Esto es un intento de cobrar una deuda y cualquier información obtenida se utilizará para ello. Esta comunicación es de un cobrador de
deudas.
Si usted es un cliente en situación de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
este aviso es para informarle de la situación de su préstamo hipotecario. Este aviso no constituye una exigencia de pago ni un aviso de
responsabilidad civil contra ninguno de los destinatarios de la presente notificación, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislación vigente sobre bancarrota o que pudiera ser objeto de suspensión automática en virtud de
Sección 362 del Código de Bancarrota de los Estados Unidos. No obstante, puede ser una notificación de una posible aplicación de
gravamen sobre la propiedad como garantía, que aún no ha sido descargada en su proceso de bancarrota.
Atención Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
estatales proporcionan protecciones importantes para usted, incluyendo protecciones de tasas de interés y prohibiendo la ejecución
hipotecaria bajo la mayoría de las circunstancias durante y doce meses después del miembro del servicio militar u otro servicio.
Asesoramiento para militares con cobertura está disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las Fuerzas
Armadas de Estados Unidos o de otras agencias similares. Para más información por favor visite el sitio web de Military OneSource
www.militaryonesource.mil/.
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                            Exhibit C


              E-mail of May 13, 2008 from HUD to Plaintiff
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From: sfadmin@hud.gov <sfadmin@hud.gov>
Sent: Tuesday, May 13, 2008 4:23 PM
To: kdelores@msn.com
Subject: FHA Connection ID

T he request for an FHA Connection ID for KAREN SMITH was rejected for the following reason(s):

License terminated on appraiser roster


If you have any questions, please email us at sfadmin@hud.gov
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                             Exhibit D
                Moody’s Shellpoint Servicer Quality report

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                              Exhibit E

                             Catalyst Reports
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                            Exhibit F


                 Shellpoint Letter dated March 20, 2019
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